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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
__________________________________________
CENTER FOR SCIENCE IN THE PUBLIC           )
INTEREST,                                  )
                                           )
       Plaintiff,                          )
                                           )
       v.                                  )  Civ. No. 15-1651 (BAH)
                                           )
U.S. FOOD AND DRUG ADMINISTRATION,         )
                                           )
       Defendant.                         )
__________________________________________)

                                   JOINT STATUS REPORT

        In accordance with this Court’s December 16, 2015, minute order, Defendant, the United

States Food and Drug Administration (“FDA”), and Plaintiff, the Center for Science in the Public

Interest (“CSPI”), hereby file this joint status report, and request an extension for FDA to answer

plaintiff’s complaint from February 12, 2016, until June 15, 2016. In support of this request, the

parties state as follows:

        FDA remains in the process of evaluating CSPI’s November 8, 2005, Citizen Petition

concerning sodium (available at http://www.regulations.gov/#!documentDetail;D=FDA-2005-P-

0196-0030). The parties have engaged in settlement discussions in an attempt to resolve this

case. As part of those discussions, CSPI has agreed to give FDA until June 1, 2016, to provide a

substantive response to CSPI’s Citizen Petition. The parties are hopeful that that response will

resolve CSPI's pending claim for unreasonable delay.

         Should the Court grant this extension, the parties will provide a status report on or

before June 15, 2016, informing the Court whether FDA’s response has resolved CSPI’s claim

and, if so, whether CSPI intends to file an amended complaint based on FDA’s response to the

Citizen Petition and a proposed schedule for additional filings.
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        For the foregoing reasons, the parties respectfully request that the Court extend the time

for filing Defendant’s answer until June 15, 2016. With this report, the parties attach a proposed

order for this relief.

Dated: February 10, 2016                      Respectfully submitted,

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